Case 1:12-cv-01505-RM-MEH Document 1 Filed 06/11/12 USDC Colorado Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No:___________________________

 Plaintiff:
 STEELE STREET BANK & TRUST, as Conservator for
 S.R., a minor,

 v.

 Defendants:
 PELHAM STAPLES, M.D., and
 CATHOLIC HEALTH INITIATIVES COLORADO, a Colorado Corporation,
 d/b/a CENTURA HEALTH-ST. THOMAS MORE HOSPITAL
 ______________________________________________________________________________

                                  COMPLAINT
 ______________________________________________________________________________

        Plaintiff, by and through her attorneys, The Mahoney Law Firm, P.C., respectfully

 submits the following Complaint:

                                            I. PARTIES

        1.      S.R. is a citizen and resident of the state of California, who presently resides at the

 following address: 5716 Lillian Drive, Kelseyville, California, 95451.

        2.      S.R. is a minor and is mentally incompetent.

        3.      Plaintiff Steele Street Bank & Trust (hereafter “SSBT”), acting by and through its

 Executive Vice President, Daniel Rich, is the duly-appointed legal representative (i.e.

 conservator) for S.R.

        4.      Defendant Pelham Staples, M.D., is a citizen and resident of the state of Colorado,

 who is located at the following address: 1335 Phay Ave., Suite B, Canon City, Colorado, 81212.




                                                 1
Case 1:12-cv-01505-RM-MEH Document 1 Filed 06/11/12 USDC Colorado Page 2 of 6




          5.    Defendant Catholic Health Initiatives Colorado d/b/a Centura Health-St. Thomas

 More Hospital, is a citizen and resident of the state of Colorado, and is located at 1338 Phay

 Ave., Canon City, Colorado, 81212.

                                 II. JURISDICTION AND VENUE

          6.    The sum in controversy in this case exceeds $75,000.00, exclusive of interest and

 costs.

          7.    This Court has subject matter jurisdiction in this case on the basis of complete

 diversity of citizenship, pursuant to 28 U.S.C. §1332.

          8.    Venue is appropriate in this court pursuant to 28 U.S.C. §1391, because (1) both

 Defendants reside in this judicial district, (2) a substantial part of the events or omissions giving

 rise to this claim occurred in this judicial district, and (3) both Defendants are subject to personal

 jurisdiction in this judicial district at the time this action is commenced.

                                 III. GENERAL ALLEGATIONS

          9.    Plaintiff incorporates all previous allegations of this Complaint.

          10.   At all times relevant to this Complaint, Defendant Catholic Health Initiatives

 Colorado (hereafter referred to as “CHIC”) was a Colorado corporation, duly authorized to

 conduct business in the state of Colorado.

          11.   At all times relevant to this Complaint, Defendant CHIC was doing business in

 the state of Colorado by operating a hospital under the name of St. Thomas More Hospital and/or

 Centura Health-St. Thomas More Hospital (hereafter referred to as “Defendant Hospital”).

          12.   At all times relevant to this Complaint, Defendant Staples was, and is, licensed to

 practice medicine in the state of Colorado, and was actually practicing medicine as a specialist in

 the field of obstetrics and gynecology.




                                                  2
Case 1:12-cv-01505-RM-MEH Document 1 Filed 06/11/12 USDC Colorado Page 3 of 6




        13.      At all times relevant to this Complaint, K.R. (S.R.’s mother) was a patient of

 Defendant Staples.

        14.      On March 1, 2001, K.R. was admitted to Defendant Hospital for a planned

 induction of labor.

        15.      At all times relevant to this Complaint, Defendant Hospital held itself out to the

 public in general, and to K.R. in particular, as a hospital with facilities, personnel, and

 capabilities to handle obstetrical patients.

        16.      On March 1, 2001, various employees of Defendant Hospital, including

 obstetrical nurses, provided care to K.R. At all times relevant to this Complaint, these employees

 were acting within the course and scope of their employment with Defendant Hospital.

        17.      On March 1, 2001, Defendant Staples administered prostaglandin gel to K.R. to

 induce labor.

        18.      Defendant Staples documented that he administered 1.0 milligrams of

 prostaglandin gel intracervically to his patient, K.R.

        19.      Nursing employees of Defendant Hospital documented that their patient, K.R.,

 received 1.5 milligrams of prostaglandin gel.

        20.      After the administration of the prostaglandin gel, K.R. experienced uterine

 hyperstimulation.

        21.      After the administration of the prostaglandin gel, the electronic fetal heart rate

 monitor strip showed signs of fetal distress.

        22.      Defendant Staples performed an emergency cesarean section delivery of S.R.

        23.      The time of birth was 8:13 a.m. on March 1, 2001.

        24.      S.R.’s Apgar scores were 1 at 1 minute, 1 at 5 minutes, and 2 at 10 minutes.




                                                 3
Case 1:12-cv-01505-RM-MEH Document 1 Filed 06/11/12 USDC Colorado Page 4 of 6




        25.      S.R. received resuscitative measures, including endotracheal intubation, external

 cardiac massage, and administration of life saving drugs.

        26.      On March 1, 2001, S.R. was transferred to Memorial Hospital in Colorado

 Springs.

        27.      Indications for the transfer to Memorial Hospital included respiratory distress,

 metabolic acidosis, and perinatal hypoxia.

        28.      At Memorial Hospital, S.R. was diagnosed with perinatal hypoxia and acidosis,

 with uterine hypertonia as the likely cause.

        29.      S.R. has been diagnosed with spastic quadriplegia and cognitive impairment.

        30.      S.R. is under the age of eighteen years.

        31.      S.R. is mentally incompetent.

        32.      S.R. has been a “person under disability,” pursuant to Colorado law, since the

 time of her birth.

        33.      Steele Street Bank & Trust was appointed the legal representative (i.e.

 conservator) for S.R. on January 23, 2012.

                                   IV. FIRST CLAIM FOR RELIEF

                                  Defendant St. Thomas More Hospital

        34.      Plaintiff incorporates by reference all previous allegations of this Complaint.

        35.      Defendant Hospital and its employees were negligent in at least, but not limited

 to, the following particulars:

        a. In allowing the administration of 1.0 milligrams or 1.5 milligrams of prostaglandin

              gel to K.R.

        b. In failing to properly interpret the electronic fetal heart rate monitor strip.




                                                 4
Case 1:12-cv-01505-RM-MEH Document 1 Filed 06/11/12 USDC Colorado Page 5 of 6




        c. In failing to notify Defendant Staples of abnormalities on the fetal heart rate monitor

              strip in a timely fashion.

        d. In failing to take appropriate steps to ensure that a cesarean section delivery could be

              accomplished in a timely fashion.

        36.       As a direct and proximate result of the negligence of Defendant Hospital and its

 employees, S.R. suffered injuries, damages, and losses, including past and future medical and

 life care expenses, lost earnings, lost home services, physical impairment, disfigurement, pain

 and suffering, inconvenience, emotional stress, and loss of enjoyment of life.

                                 V. SECOND CLAIM FOR RELIEF

                                   Defendant Pelham Staples, M.D.

        37.       Plaintiff incorporates by reference all previous allegations of this Complaint.

        38.       Defendant Staples was negligent in at least, but not limited to, the following

 particulars:

        a. In administering 1.0 milligrams or 1.5 milligrams of prostaglandin gel to K.R.

        b. In failing to properly interpret the electronic fetal heart rate monitor strip.

        c. In failing to respond in a timely manner when he was notified of abnormalities on the

              fetal heart rate monitor strip.

        d. In failing to take appropriate steps to ensure that a cesarean section delivery was

              accomplished in a timely fashion.

        39.       As a direct and proximate result of Defendant Staples’s negligence, S.R. suffered

 injuries, damages, and losses, including past and future medical and life care expenses, lost

 earnings, lost home services, physical impairment, disfigurement, pain and suffering,

 inconvenience, emotional stress, and loss of enjoyment of life.



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Case 1:12-cv-01505-RM-MEH Document 1 Filed 06/11/12 USDC Colorado Page 6 of 6
